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                               1
                                                         UNITED STATES DISTRICT COURT
                               2
                                                      NORTHERN DISTRICT OF CALIFORNIA
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                               4
                                   COLLEGE OF THE LAW, SAN                      Case No. 4:20-cv-03033-JST
                               5     FRANCISCO a public trust and
                                     institution of higher education            DECLARATION OF MATTHEW D.
                               6     duly organized under the laws              DAVIS IN SUPPORT OF
                                     and the Constitution of the                PLAINTIFFS’ RESPONSE TO
                               7     State of California;                       ADMINIDTRATIVE MOTION OF
                                   FALLON VICTORIA, an                          DEFENDANT CCSF TO RELATE
                               8     individual;                                CASES
                                   RENE DENIS, an individual;
                               9   TENDERLOIN MERCHANTS                         ASSIGNED FOR ALL PURPOSES
                                     AND PROPERTY                               TO THE HONORABLE JON S.
                          10         ASSOCIATION, a business                    TIGAR
                                     association;
                          11       RANDY HUGHES, an individual;                 Trial Date:       (None set yet)
                                     and
                          12       KRISTEN VILLALOBOS, an
                                     individual,
                          13
                                                         Plaintiffs,
                          14
                                        v.
                          15
                                   CITY AND COUNTY OF SAN
                          16         FRANCISCO, a municipal
                                     entity,
                          17
                                                         Defendant.
                          18
                          19

                          20            I, Matthew D. Davis, declare as follows:

                          21            1.    I am an attorney duly admitted to practice before this Court. I am a

                          22 partner with Walkup, Melodia, Kelly & Schoenberger, attorneys of record for

                          23 Plaintiffs in this case. I have personal knowledge of the facts set forth herein, and if

                          24 called as a witness, I could and would competently testify thereto.

                          25            2.    My responsibilities in this litigation have included serving as the

                          26 primary liaison for plaintiffs during settlement discussions with defendant City and

                          27 County of San Francisco (the “City”). I have also been responsible for being the

                          28 attorney who met-and-conferred with the City when plaintiffs believed that the City
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                               1 was in breach of the Stipulated Injunction. I also actively monitored information

                               2 relevant to the litigation and Stipulated Injunction, such as the “tent counts” that

                               3 were regularly conducted in the Tenderloin following the entry of the Stipulated

                               4 Injunction.

                               5        3.     Since the Stipulated Injunction was entered on June 30, 2020, I

                               6 initiated numerous meet-and-confers with the City Attorney’s Office about City’s

                               7 compliance with the Stipulated Injunction, especially the City’s obligation to “make

                               8 all reasonable efforts” to permanently reduce the number of tents and encampments

                               9 to “zero.”

                          10            4.     Until earlier this year, my counterpart at the City was Deputy City

                          11 Attorney Ryan Stevens. I had a number of meet-and-confer telephone calls, text

                          12 messages and email exchanges with Mr. Stevens in an effort to settle and resolve
                          13 what plaintiffs’ believed to be the City’s breaches of the Stipulated Injunction. On

                          14 more than one occasion, I, on behalf of the plaintiffs, threatened to escalate the

                          15 dispute to the settlement conference (as contemplated and set forth by the Stipulated

                          16 Injunction). However, until recently, plaintiffs were able to resolve their disputes

                          17 with the City without requesting the settlement conference, let alone escalating the

                          18 dispute to the attention of the Court. The majority of my meet-and-confer settlement
                          19 discussions with Mr. Stevens pertained to the City’s obligation to make all

                          20 reasonable efforts to permanently reduce the number of tents and encampments to

                          21 zero.

                          22            5.     Based on my review of the tent counts and my personal experience in

                          23 walking the streets of the Tenderloin, in the immediate months following the entry of

                          24 the tremendous progress was made with respect to the sidewalk camps in the

                          25 Tenderloin; on some days the number of tents and encampments dropped to the

                          26 single digits.

                          27            6.     Starting in 2021, a backslide occurred in that the number of tents and

                          28 encampments in the Tenderloin started to creep up. This prompted plaintiffs to
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                               1 initiate numerous meet-and-confer communications with the City. This would

                               2 sometimes result in the resumption of enforcement efforts by the City and a

                               3 reduction in the number of tents and encampments.

                               4        7.     Beginning in about the end of 2022, the conditions in the Tenderloin

                               5 suddenly started to get much worse. Once again, some sidewalks became impassible.

                               6 As a consequence, plaintiffs ramped up the meet-and-confer efforts with the City. But

                               7 conditions seemed to only get worse. By June of 2023 conditions got so bad that

                               8 plaintiffs retained a licensed private investigator, Lindon Lilly, to document the

                               9 conditions in the Tenderloin in anticipation of eventually submitting a dispute to this

                          10 Court. Submitted with this response is that investigator’s declaration.

                          11            8.     In about July of this year, Mr. Stevens informed me that he was leaving

                          12 the City Attorney’s office to join a private law firm. In late August of this year, I
                          13 learned that Deputy City Attorney Zuzana Ikels would be my new counterpart. My

                          14 meet-and-confer settlement discussions with the City have been primarily through

                          15 her since then.

                          16            9.     In about July of this year, I became informed and came to believe,
                          17 through meet-and-confer discussions with the City and other sources, that the

                          18 Coalition on Homelessness (“COH”) was allegedly instructing people camping on the
                          19 Tenderloin’s streets and sidewalks to refuse the City’s offers of shelter by citing to a

                          20 preliminary injunction issued in a separate case that the COH filed after it

                          21 intervened in this case. At about that time City reported that it felt that it could not

                          22 comply with the Stipulated Injunction because it was stuck between a rock and hard

                          23 place. That is what prompted plaintiffs to request a formal settlement conference in

                          24 this case.

                          25            10.    I recently reviewed social media postings made by the COH. The

                          26 included the following post appeared on the COH’s Twitter feed in December 2021:

                          27

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                          22        Source: https://twitter.com/kattenburger/status/1707085556834869587/photo/1 (accessed on 10/7/2023 at 2:09 p.m.) (Davis decl. at ¶X.)


                          23
                                           11.       I was struck by both the content and date of the above Twitter post. It
                          24
                                   was apparently made in December 2021, more than one year after this Court
                          25
                                   explicitly granted the COH the right to seek to modify and improve the Stipulated
                          26
                                   Injunction in this case. However, the COH has never made any overture to plaintiffs
                          27
                                   in this case to do so. It appears that the COH was instead soliciting donations to pay
                          28
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                               1 for tents to distribute to people for the purpose of camping in the Tenderloin, which

                               2 violates the spirit, if not the letter of the Stipulated Injunction.

                               3         I declare under penalty of perjury under the laws of the United States of

                               4 America that the foregoing is true and correct to the best of my knowledge.

                               5         Executed on this 6th day of October, 2023, at San Francisco, California.

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                                                                               Matthew D. Davis
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